                IN THE UNITED STATES DISTRICT COURT

             FOR THE MIDDLE DISTRICT OF NORTH CAROLINA


UNITED STATES OF AMERICA                :
                                        :
        v.                              :       1:17CR460-1
                                        :
PAULA KAY BULLOCK                       :


               GOVERNMENT’S SECOND NOTICE OF INTENT
                    TO OFFER EXPERT TESTIMONY

      NOW COMES the United States of America, by and through Matthew

G.T. Martin, United States Attorney for the Middle District of North Carolina,

and hereby gives notice, pursuant to Rule 16(a)(1)(G) of the Federal Rules of

Criminal Procedure, of its intent to offer expert testimony under Rules 702,

703, and 705 of the Federal Rules of Evidence during the trial of this case.

      The United States expects to offer the expert testimony of North

Carolina State University Veterinary Hospital Clinical Pharmacist Daniel

Abner as to the prescription and use of controlled substance narcotics such as

hydrocodone, and oxycodone in veterinary practice for treatment of animals.

Mr. Abner will testify as to the frequency and manner of use of these drugs in

veterinary practice. He will also testify as to the medically appropriate dosage

in relation to the weight of the animal being treated. Mr. Abner will also testify

to his review of certain prescriptions written by the defendant for hydrocodone




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and oxycodone. The United States anticipates that Mr. Abner will testify that

in his opinion the prescriptions are not within normal veterinary practice both

in the prescription of oxycodone and hydrocodone for dogs and in the large

dosage amounts. Mr. Abner will base his opinion on his expertise as a clinical

pharmacist specializing in veterinary practice and serving as operations

manager for the North Carolina State University Veterinary Hospital. He will

also base his opinion on the practices of the veterinarians and pharmacists at

the North Carolina State University Veterinary Hospital and his review of the

professional literature and research as to the use of hydrocodone and

oxycodone in a veterinary practice. He will also base his opinion on his

educational background and training as a pharmacist specializing in

veterinary medicine.

      Expert testimony is admissible if it will "assist the trier of fact to

understand the evidence or to determine a fact in issue." Fed. R. Evid. 702.

      In this case, the defendant is charged with falsely obtaining opioids

including hydrocodone and oxycodone under the pretense that she was

prescribing the drugs for canine patients. The testimony of Mr. Abner will help

the jury understand the limited veterinary use of hydrocodone and the

extremely limited use of Oxycodone. His testimony will also help the jury

understand the proper dosage of such opioids in dogs. Mr. Abner’s testimony


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on this issue will help the jury to determine whether the opioid prescriptions

in question were legitimate or simply a pretense for the defendant to obtain

oxycodone and hydrocodone for her own illegitimate purposes.

      Mr. Abner’s curriculum vitae is attached hereto as Exhibit A and has

been previously provided to the defendant in discovery.

      This the 16th day of August, 2018.

                                    Respectfully submitted,

                                    MATTHEW G.T. MARTIN
                                    United States Attorney

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                          CERTIFICATE OF SERVICE

      I hereby certify that on August 16, 2018, the foregoing was electronically

filed with the Clerk of the Court using the CM/ECF system which will send

notification of such filing to the following:


Paul Moore Dubbeling, Esq.



                                      Respectfully submitted,

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                                      UNITED STATES ATTORNEY



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